
*1300OPINION.
SteRNhagen:
The very full and complete statement of the facts and circumstances under which these expenditures were made establishes clearly that they were ordinary and necessary expenses paid by the petitioner jn carrying on the occupation in which he was engaged for livelihood. The amount is expressly limited to such as was spent, not for his personal convenience or enjoyment, but for account of his office and which he had no election but to make. His income depended on them — at least the continuance of his naval standing, from which his income was derived, required them and would have been seriously jeopardized had he failed to make them. We are of opinion that the amount is a proper deduction. See D. C. Jackling, 9 B. T. A. 312.
Reviewed by the Board.

Judgment will be entered for the petitioner.

